Case 2:03-cv-02916-SHI\/|-dkv Document 47 Filed 06/06/05 Page 1 of 2 Page|D 50

 

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEN'N'ESSEE 85 JUN ,_,6 M 8: la
WESTERN DIVISION

H.OBEFH' FE. *:`»* FHOH
CLF:F€£;, Lj.\ l..}rST C€

W.f} GF F'I`.é REEMFHIS
MARGIE E. ROBERTSON,

Plaintiff,

v. CV. NO. 03-2916-Ma
UT MEDICAL GROUP, INC.,
STEV'EN I'I. BURKE'.I‘T.r

and

Defendants.

J'UDGMENT

Decision. by' Court. This action came for consideration

before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
with.prejudice in accordance With the Consent Order of Dismissal

docketed May 31, 2005. Each party shall bear its own costs and
attorney's fees.

APPROVE£B!:M /VM§`

SAMUEL H. MAYS, JR.
UNI’I'ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 47 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

